Case 3:08-cr-00167-B           Document 219        Filed 07/24/09      Page 1 of 6      PageID 807



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
                                                 §
                                                 § CRIMINAL DOCKET NO. 3:08-CR-0167-B
VS.                                              §
                                                 §
COREY DEYON DUFFEY (01)                          §
TONY R. HEWITT (02)                              §
JARVIS DUPREE ROSS (03)                          §
CHARLES RUNNELS (05)                             §
ANTONYO REECE (06)                               §
                                                 §
                                 Defendants.     §

                                     MEMORANDUM ORDER

          In this criminal action, defendants Corey Deyon Duffey (01) (“Duffey”), Tony R. Hewitt (02)

(“Hewitt”), Jarvis Dupree Ross (03) (“Ross”), Charles Runnels (05) (“Runnels”), and Antonyo Reece

(06) (“Reece”) have filed various pretrial motions. The Court sets forth its ruling on each of the

motions below. The Court notes each holding of this order is applicable to all defendants in this

action.

                                                   I.

                            Motions to Suppress Illegally Seized Evidence

          Hewitt and Runnels move the Court to suppress certain “illegally seized evidence” (doc. 102,

doc. 141). The Government opposes both Motions arguing Hewitt and Runnels have failed to

identify what evidence should be suppressed and to provide the factual and legal basis supporting

suppression.

          A motion before the Court “must state the grounds on which it is based and the relief or

order sought.” FED . R. CRIM . P. 12(b)(1), 47(b). In reviewing these Motions, the Court finds a lack
Case 3:08-cr-00167-B         Document 219        Filed 07/24/09       Page 2 of 6      PageID 808



of legal and factual basis supporting the relief Hewitt and Runnels request. Accordingly, the Motions

are DENIED (doc. 102, doc. 141).

                                                 II.

         Amended Motion for Separate Hearing to Determine Existence of a Conspiracy

       Hewitt moves the Court for a separate hearing to determine the existence of a conspiracy

(doc. 116). At this hearing, Hewitt would seek to determine the admissibility of any co-conspirator’s

statements the Government intends to introduce as hearsay exceptions under Federal Rule of

Evidence 801(d)(2)(E). The Government states it will comply with its obligation to establish the

proper foundation for the admission of any statement under this hearsay provision as discussed in

Bourjaily v. United States, 483 U.S. 171 (1983), without the need for a separate hearing.

       The Court plans to address the foundation to admit co-conspirator’s statements at the

Pretrial Conference scheduled for 2:00pm on July 24, 2009. Therefore, this Motion is DENIED

(doc. 116).

                                                III.

                        Motions for Discovery and Inspection of Evidence

       Hewitt and Runnels move the Court to compel discovery and inspection of evidence (doc.

103, doc. 144). Hewitt’s Motion lists twenty categories of evidence to be produced. Runnels’s

Motion lists twenty-three categories of evidence to be produced. The Government states it has

provided Hewitt and Runnels with a copy of all information in its possession and plans to continue

to provide Hewitt and Runnels with any information it receives in the future.

       As part of discovery and inspection, the Government is required to disclose each of the

categories of evidence Hewitt and Runnels have listed. FED . R. CRIM . P. 16. Accordingly, these

                                                -2-
Case 3:08-cr-00167-B         Document 219        Filed 07/24/09        Page 3 of 6   PageID 809



Motions are GRANTED (doc. 103, doc. 144). The Court notes it appears the Government is

already in compliance with this order.

                                                IV.

                        Motions for Evidence Favorable to the Defendant

       Hewitt and Runnels move the Court to compel the production of all exculpatory evidence

or evidence favorable to the Defendants in the Government’s possession (doc. 104, doc. 145). The

Government states it has no information in its possession that is exculpatory or favorable to the

Defendants, but notes its intention to comply with its continuing obligation to provide such

information to the Defendants in the future.

       It is a violation of due process for the Government to withhold from the Defendants upon

request evidence that is material to guilt or to punishment. Brady v. Maryland, 373 U.S. 83 (1963);

see also FED . R. CRIM . P. 16. Accordingly, these Motions are GRANTED (doc. 104, doc. 145). The

Court notes it appears the Government is already in compliance with this order.

                                                 V.

                                Motions to Preserve Agents’ Notes

       Hewitt and Runnels move the Court to compel the production and preservation of all agents’

notes (doc. 105, doc. 140). The Government notes Hewitt has not made any statements to law

enforcement. However, the Government does not oppose these Motions and adds it will make

reasonable efforts to preserve the notes of any witness’s interview.

       The Government is obligated to disclose upon request a defendant’s oral statement made

before or after arrest in response to interrogation by a person the defendant knew was a government

agent if the government intends to use the statement at trial. FED . R. CRIM . P. 16(a)(1)(A).

                                                -3-
Case 3:08-cr-00167-B        Document 219         Filed 07/24/09      Page 4 of 6      PageID 810



Accordingly, these Motions are GRANTED (doc. 105, doc. 140). The Court notes it appears the

Government is already in compliance with this order.

                                                VI.

                         Motion for Attorney Participation in Voir Dire

       Hewitt moves the Court to allow attorney participation in voir dire and has submitted a

memorandum in support (doc. 106). The Government does not oppose this Motion.

       In conducting voir dire, the Court may examine prospective jurors or may permit the

attorneys to conduct examination. FED . R. CRIM . P. 24(a)(1). Because it is the regular practice of

this Court to allow attorney participation during voir dire, this Motion is GRANTED (doc. 106).

The Court will fully inform Counsel of how it intends to proceed with voir dire at the Pretrial

Conference on July 24, 2009.

                                               VII.

             Motion for Notice of Intention to Introduce Extraneous or Similar Acts

       Runnels moves the Court to compel notice of the Government’s intention to introduce

extraneous or similar acts (doc. 139). The Government does not oppose this Motion. The

Government further submits it intends to offer the Defendant’s felony convictions at trial to prove

an essential element of three of the charged offenses, Counts Eight, Forty, and Forty-One of the

indictment. Each offense alleges the Defendant, having been convicted of a crime punishable by

imprisonment for a term exceeding one year, did knowingly and unlawfully possess a firearm in

violation of 18 U.S.C. § 922(g)(1).




                                                -4-
Case 3:08-cr-00167-B         Document 219        Filed 07/24/09       Page 5 of 6      PageID 811



       The prosecution in a criminal case is required to provide reasonable notice in advance of trial

of the general nature of any evidence of other crimes, wrongs, or acts it intends to introduce. FED .

R. EVID . 404(b). Accordingly, this Motion is GRANTED (doc. 139).

                                               VIII.

                                            Conclusion

       In summary, the Court rules on the various pretrial motions filed by Counsel as follows:

       •       Motions to Suppress Illegally Seized Evidence, DENIED (doc. 102, doc. 141)

       •       Amended Motion for Separate Hearing to Determine Existence of a Conspiracy,
               DENIED (doc. 116)

       •       Motions for Discovery and Inspection of Evidence, GRANTED (doc. 103, doc.
               144)

       •       Motions for Evidence Favorable to the Defendant, GRANTED (doc. 104, doc.
               145)

       •       Motions to Preserve Agents’ Notes, GRANTED (doc. 105, doc. 140)

       •       Motion for Attorney Participation in Voir Dire, GRANTED (doc. 106)

       •       Motion for Notice of Intention to Introduce Extraneous or Similar Acts,
               GRANTED (doc. 139)

       SO ORDERED.

       July 24, 2009



                                              _________________________________
                                              JANE J. BOYLE
                                              UNITED STATES DISTRICT JUDGE




                                                -5-
Case 3:08-cr-00167-B   Document 219   Filed 07/24/09   Page 6 of 6   PageID 812




                                      -6-
